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                   Exhibit 15
                              Case 3:16-cr-00411-VC Document 116-15 Filed 09/19/17 Page 2 of 2
(22825 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                       8/22/17, 3)23 PM


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                                      All    Naum Morgovsky, search your mailbox                              Search Mail           Search Web       Home         N



                                 Fw: 50mmRe:
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                                              100mmRe: 50mm
                                                        fixedRe:
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                                                                                                            elements
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                                                                                                                         Re: 9/19/12
                                                                                                                                  Re: 9/19/12
                                                                                                                                           Re: Opportunity
                                                                                                                                                   Re: Opportunity
                                                                                                                                                           Re: Opportunity
                                                                                                                                                                   Re: EOY special

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  Inbox (9999+)                       Re: EOY special pricing
  Drafts (228)

  Sent                                Naum Morgovsky <naummorgovsky@yahoo.com>                                             10/01/12 at 7:43 PM
                                      To Devin Standard
  Archive

  Spam (42)                           Hi Devin,
                                      I appreciate your efforts, but the price adjustment has not been serious enough to make it work
  Trash
                                      for me. When I first met you at the Photonics West show in San Francisco you told me that your
  Smart Views                         company was able and interested to develop lenses for me which would be non-milspec and in a
    Important                         lower price range. If your company is interested in doing so, I can offer the following
                                      arrangement which would assure the continuity of our doing business together: I immediately
    Unread
                                      place an order for 40 pcs of each 30/50/100mm lens sets at a price 10% below your latest price
    Starred                           quote with delivery in 4 and no later than 5 weeks and meanwhile work with your company on
    People                            designing more affordable non-milspec lenses with focuses 30/60/100mm to be supplied on an
    Social                            ongoing basis with minimum orders which would be of sufficient interest to your company. I can
    Shopping
                                      even prepay the order in full if you so desire.
                                      Please let me know ASAP.
    Travel                            Best wishes, Naum
    Finance
    silverman
    mseymour
                                      From: Devin Standard <Devin.Standard@Janostech.com>
    bartfield                         To: Naum Morgovsky <naummorgovsky@yahoo.com>
    montgomery                        Sent: Friday, September 28, 2012 5:50 AM
    seymour                           Subject: EOY special pricing

    rosas
                                      Hi Naum:
    cheo                              Please ﬁnd your revised quote a6ached.
  Folders                             We are able to loosen some of the specs to reduce the cost.
                                      I look forward to your order.
    Drafts
    Notes                             Devin S. Standard
    Sent Messages                     Senior Account Manager
    untitled                          Janos Technology
                                      The Power of Focus
  Sponsored                           WWW.JanosTech.com
                                      Devin.Standard@Janostech.com
                                      (603) 313-2502



  Coolimba
  Who Do You Think Can Hold
  the Pose Longer




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https://mg.mail.yahoo.com/neo/launch?.rand=bfv46471ca0e4#2538718084                                                                                              Page 1 of 1
